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                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA

                                  SAN FRANCISCO DIVISION


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      WAYMO LLC,                              CASE NO. 3:17-cv-00939-WHA

                 Plaintiff,                   PRÉCIS ON MOTIONS IN LIMINE IN
       v.                                  RESPONSE TO CASE MANAGEMENT
                                              ORDER RE: TRIAL PREPARATION
 UBER TECHNOLOGIES, INC.;
    OTTOMOTTO LLC; OTTO TRUCKING
 LLC,
              Defendants.

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            REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
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 1 Motion in limine no. 1: To preclude Uber from arguing that Uber never possessed the 14,000

 2 files or, in the alternative, for an adverse inference that Uber possessed the 14,000 files.

 3          At an April 5 hearing, Uber told the Court that “we will demonstrate to you that those

 4 14,000 files never made it to Uber.” (Dkt. 160, Apr. 5 Hr’g Tr. at 9:13-15.) Ten weeks later, the

 5 opposite has occurred. Uber can no longer credibly claim that it never took possession of any

 6 stolen files. Despite Uber’s repeated attempts to obfuscate, Waymo has now shown that Uber’s

 7 agents (Stroz Friedberg), counsel (Morrison & Foerster), and former head of self-driving

 8 (Anthony Levandowski) have each put hands on the trade secret files taken from Waymo. 1 While

 9 Uber continues to assert that Uber never possessed the stolen files, this assertion (even assuming it

10 were true) is irrelevant and misleading, as it does not change the fact that Uber’s agents and

11 employee possessed the files, and thus in every meaningful sense Uber possessed them as well.

12 Thus, under Rule 402 or, in the alternative, Rule 403, this Court should preclude Uber from

13 arguing to the jury that it never possessed the stolen material. At a minimum, this Court should

14 impose an adverse inference that Uber possessed the stolen material.

15          That Levandowski stole Waymo’s trade secrets is no longer seriously in doubt. In support

16 of its motion for preliminary injunction, Waymo submitted the declaration of forensic engineer

17 Gary Brown detailing his findings that Levandowski downloaded software to access Waymo’s

18 SVN server, downloaded 14,000 files from that server, connected a memory stick to the computer
19 for several hours, removed the memory stick, then reformatted the computer. (Dkt. 25-29.) Uber

20 has made no attempt to discredit Mr. Brown’s analysis. No defendant has ever denied that

21 Levandowski took the files, and recently Uber all but admitted to Levandowski’s theft by firing

22 him for his purported refusal to cooperate in Uber’s internal investigation. (Dkt. 625, June 7 Hr’g

23 Tr. at 86-87.) In sum, as the Court has already found, “Waymo has made a strong showing that

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         In an email dated June 12, 2017, defendants’ counsel stated that MoFo does not have any of
   the downloaded materials, “except to the extent that any such material may appear . . . in certain
26 materials AL [i.e., Anthony Levandowski] and other persons provided to Stroz to which MoFo
   was given limited access during the Stroz investigation pursuant to the terms of the AL-Stroz
27 contract and the protocol governing the investigation, and under strict conditions preventing MoFo
   from sharing those materials with anyone, including Uber.”
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 1 Levandowski absconded with over 14,000 files from Waymo” and those files “likely remain in

 2 Levandowski’s possession.” (Dkt. 433 at 7.) And since then, the evidence has only grown

 3 stronger, as Uber recently admitted that

 4

 5                                                                         (Dkt. 595-3 at 4.)

 6          In addition to the clear and undisputed evidence of theft, Uber likewise has produced no

 7 evidence to dispute that Levandowski had every opportunity to use that information at Uber

 8 regardless of whether Uber ever possessed the files. The Court long ago noted that Uber has

 9 offered no evidence of “prophylactic steps” taken to prevent Levandowski from bringing and

10 using Waymo’s stolen files. (Dkt. 433 at 7.) In addition, Uber has not disputed that Levandowski

11 regularly used his personal computer in the course of his LiDAR work at Uber – a personal

12 computer that Uber has never examined, nor produced for inspection in this litigation.

13 Accordingly, Uber does not and cannot dispute that Levandowski possessed the files and that he

14 might well have accessed those files from his personal computer while working at Uber. Indeed,

15 as this Court has found: “As to whether Levandowski ever consulted those files in his work for

16 Uber, defense counsel has admitted that nothing prevented him from doing so. Whether

17 Levandowski kept the files on personal or work devices and servers would make little difference

18 to his ability to consult the files.” (Dkt. 433 at 9.)
19          Given these undisputed facts, any argument from Uber that it never took possession of the

20 stolen files is false and, at any rate, irrelevant. As the Court has recognized, Levandowski was

21 free to create “all manner and mischief” with the stolen files even without porting them over to

22 Uber’s own network, including by “keep[ing] that treasure trove of files as handy as he wished (so

23 long as he kept it on his own personal devices).” (Dkt. 433 at 8.) More generally, the legal issue

24 of misappropriation is not dependent on where the trade secrets are physically located. Thus, Uber

25 should be precluded from making the irrelevant argument that “those 14,000 files never made it to

26 Uber.” Fed. R. Evid. 402. In the alternative, Uber should be precluded because the minimal
27 probative value of the evidence would be substantially outweighed by the risk of misleading the

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 1 jury, who might be inclined to erroneously exculpate Uber on the ground that there could be no

 2 trade secret misappropriation unless the files physically came under Uber’s direct control. Fed. R.

 3 Evid. 403. That risk of confusion is amplified by the fact that, through Uber and Levandowski’s

 4 assertions of various privileges, Waymo has been deprived of the evidence that would allow

 5 Waymo to fully present to the jury exactly how and when Uber possessed the 14,000 files.

 6          Finally, even if Uber were permitted to make the argument, there should be an adverse

 7 inference against Uber that Uber did, in fact, possess the 14,000 files. Levandowski’s refusal to

 8 testify, combined with other evidence, warrants the inference that Uber possessed the files. See

 9 Doe ex rel. Rudy-Glanzer v. Glanzer, 232 F.3d 1258, 1264 (9th Cir. 2000) (adverse inference

10 appropriate if there is independent evidence of the fact that the witness refuses to admit). Asked

11 whether he took over 14,000 confidential Waymo files before resigning from Waymo and made

12 those 14,000 confidential files available to Uber and Otto, Levandowski pleaded the Fifth. (Dkt.

13 588-7 at 14:25-20:24.) Asked whether he used those files at both Uber and Otto to “accelerate the

14 development” of LiDAR, Levandowski again pleaded the Fifth. (Id.) And independent evidence

15 corroborates that he retained the files for use at Uber. (See Dkt. 433 at 9-10 (“[I]t would strain

16 credulity to imagine that Levandowski plundered Waymo’s vault the way he did with no intent to

17 make use of the downloaded trove.”).)

18 Motion in limine no. 2: To preclude Uber from arguing that Uber used the due diligence
19 process to prevent Waymo’s trade-secret information from reaching Uber.

20          Waymo respectfully requests that the Court hold defendants to their choice, expressly

21 made under pain of preclusion, to cloak the due diligence process in privilege rather than to

22 affirmatively rely on evidence relating to that investigation.

23          While Uber was considering whether to acquire Anthony Levandowski’s newly formed

24 company Ottomotto for $680 million, Uber and Ottomotto arranged for a forensic consultant,

25 Stroz Friedberg, to perform a “due diligence” investigation into the “Bad Acts” committed by

26 Levandowski and others, including trade secret misappropriation. Defendants have steadfastly
27 resisted discovery relating to this investigation, initially refusing to even identify the forensic

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 1 vendor, and continuing now to refuse to produce the due diligence report and several exhibits to

 2 that report, all under color of a latticework of privilege doctrines. Recognizing that it might be in

 3 defendants’ interests “to waive some claims of privilege in order to bolster their defense,” the

 4 Court invited defendants to set forth any waiver of privilege, “on pain of preclusion,” to enable

 5 defendants to affirmatively raise the investigation. (Dkt. 438.) Defendants chose preclusion.

 6 Defendants must now be held to that choice, and precluded from relying on any due diligence

 7 materials in their defenses to Waymo’s claims.

 8          The Court issued its invitation on May 15, noting that defendants may want to rely on the

 9 due diligence materials, for example, to show “precautions they may have taken at the time of

10 Otto’s acquisition to prevent Waymo’s confidential files from influencing defendants’ LiDAR

11 research and development.” (Dkt. 438.) This invitation issued ten days before a hearing on

12 Waymo’s motion to compel the due diligence materials, giving defendants ample time to consider

13 the Court’s offer. They refused it. On May 25, at the hearing, defendants maintained their

14 longstanding position that under a combination of the attorney-client, work-product, and common-

15 interest doctrines, the due diligence materials were entirely privileged.2 (See, e.g., Dkt. 516, May

16 25 Hr’g Tr. at 31:6-7 (“For work product privilege we’re saying that includes the report and all the

17 exhibits.”).) Defendants followed up on June 1 with formal responses to the Court’s invitation,

18 again maintaining their privilege claims in their entirety. (Dkt. 531 at 1 (“Defendants do not
19 intend to waive any privileges.”); Dkt. 532 at 1 (“Otto Trucking does not intend to waive any

20 privileges.”).)

21          Defendants must be held to their bargain. Even without the Court’s express offer (which

22 defendants rejected), the Court would be well within its power to preclude defendants from

23 offering positive evidence of the due diligence process. Where a party asserts privilege over a

24 particular subject matter, it is appropriate for the Court to preclude the litigant from later waiving

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         That the Magistrate Judge rejected defendants’ privilege arguments (Dkt. 566) has no
   bearing on defendants’ choice to pursue them on pain of preclusion. At any rate, far from even
27 attempting an untimely acceptance of the Court’s offer, defendants continue to press their
   privilege arguments by appealing the Magistrate Judge’s ruling. (Dkts. 572 & 575.)
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 1 the privilege or offering evidence on related subject matter. Universal Elecs., Inc. v. Universal

 2 Remote Control, Inc., Case No. 12-cv-00329-AG , 2014 WL 8096334, at *8 (C.D. Cal. Apr. 21,

 3 2014) (noting that where plaintiff previously asserted attorney-client privilege over certain

 4 subjects, “[c]ertainly Plaintiff cannot now provide answers to those questions”); U.S. Rubber

 5 Recycling, Inc. v. ECORE Int’l, Inc., Case No. CV 09-09516 SJO, 2011 WL 13127343, at *8

 6 (C.D. Cal. Oct. 5, 2011) (requiring defendant to assure the Court that it was not relying on an

 7 opinion of counsel defense); Edward Lowe Indus., Inc. v. Oil–Dri Corp. of America, Case No. 94-

 8 C-7568, 1995 WL 609231, at *5 (N.D. Ill. 1995) (“[B]y waiting until after the close of discovery

 9 to waive its attorney-client privilege, it was precluded from asserting an advice of counsel

10 defense.”). “[T]he attorney-client privilege cannot be used as a sword as well as a shield.”

11 Regents of Univ. of Cal. v. Micro Therapeutics, Inc., Case No. C-03-05669-JW, 2007 WL

12 2069946, at *2 (N.D. Cal. July 13, 2007) (quoting In re von Bulow, 828 F.2d 94, 103 (2d Cir.

13 1987)).

14           Defendants have repeatedly argued that they have been handcuffed from disclosure by a

15 combination of Levandowski’s Fifth Amendment privilege and the work-product, attorney-client,

16 and common-interest doctrines. (e.g., Dkts. 369, 572, 575.) The heavily-disputed merits of these

17 claims of privilege are of no moment here. As the Magistrate Judge pointed out long ago,

18 “always, when somebody takes the Fifth, it has certain consequences.” (Dkt. 277, Apr. 25 Hr’g
19 Tr. at 20.) If Levandowski’s invocation drove defendants to refuse the Court’s offer, so be it.

20 Whatever defendants’ motive for choosing privilege over disclosure, they are bound by that

21 decision, and may not now affirmatively raise evidence of the due diligence process for any

22 reason, including to show that Uber sought to prevent Levandowski from bringing stolen materials

23 to Uber.

24 DATED: June 16, 2017                         QUINN EMANUEL URQUHART & SULLIVAN,
                                                LLP
25
                                                 By       /s/Charles K. Verhoeven
26
                                                   Charles K. Verhoeven
27                                                 Attorneys for WAYMO LLC

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